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                                             -UNITED STATES DISTRICT COURT
                                             SOUTHERN DISTRICT OF FLORIDA

                                         CRIMINAL CASE NO.: 9:22-mj-08332-BER-1 FILED BY ~ ~                                    D.C.

                    IN RE SEALED SEARCH WARRANT,                                                          AUG 18 2022
                                                                                                          ANGELA E. NOBLE
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                                 SWORN DECLARATION OF PATRICK MICHAEL BYRNE

                     STATE OF FLORIDA

                     COUNTY OF SARASOTA

                            I, PATRICK MICHAEL BYRNE, hereby declare, under penalty of perjury

                     pursuant to 28 U .S.C. § 1746, that I have full personal knowledge of the eventis-and

                     matters set forth herein, and testify that the following is true and accurate to the best

                     of my knowledge:

                            1.     I am over legal age and I am competent to testify.

                            2.     The facts stated herein are based upon my personal knowledge. The

                     dialogue quoted here was documented approximately 30-40 days after it was spoken

                     in my book THE DEEP RIG: How ELECTION FRAUD COST DONALD J . TRUMP THE WHITE

                     HOUSE, BY A MAN WHO DID NOT VOTE FOR HIM (OR WHAT TO SEND FRIENDS WHO ASK,

                     ''WHY DO YOU DOUBT THE INTEGRITY OF THE 2020 ELECTION?") 111 (2021), a book

                     written in the last week of January, 2020 and first week of February, 2020.

                            3.      On the evening of Friday, December 18, 2020, Attorney Sidney Powell,

                     General Michael Flynn, an attorney named Emily Newman who worked for Ms.




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                    Powell, and I were sitting in the Oval Office with President Donald J. Trump with

                    the door closed.

                            4.     Also present in the meeting were White House General Counsel Pat

                    Cipollone, Attorney Patrick F. Philbin and Attorney Eric Herschmann.

                           5.      In this meeting the topic of discussion revolved around how to respond

                    to a situation where the FBI and DHS had themselves reported foreign interference

                    being attempted in our elections (October 22), foreign interference in our election

                    systems being successful in at least one state, and being undertaken against others,

                    by a combination of Iran and other nation-state actors; and its December 16, 2020 of

                    an unprecedented network security hack involving a product called SolarWinds

                    Orion. See also Patrick Byrne, THE DEEP RIG: How ELECTION FRAUD COST DONALD J.

                    TRUMP THE WmTE HOUSE, BY A MAN WHO DID NOT VOTE FOR HIM (OR WHAT TO SEND

                    FRIENDS WHO ASK, "WHY DO YOU DOUBT THE INTEGRITY OF THE 2020 ELECTION?") 111-

                    120 (2021).

                            6.     During this discussion multiple different potential solutions were

                    discussed, such as using the DHS (or FBI or joint US Marshall/National Guard) to

                    send small teams into 6 (or 12, 31, or even only 1) counties to image the hard drive of

                    the appropriate county election system (and/or conduct livestreamed recount and/or

                    simply recover the election equipment for full exploitation by federal authorities), and

                    also, appointing special counsel to investigate, which was not well-received by White

                    House General Counsel Pat Cipollone, and to which Cipollone quipped that "Never in




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                    American history has there been this kind of a challenge to an election!" See also id

                    at 117.

                           7.      General Flynn responded to Cipollone by stating, ''Never in American

                    history has there been a situation like this, with counting being shut down for hours,

                    foreigners connecting to our equipment ...." See also id.

                           8.     As White House General Counsel, one of Mr. Cipollone's pnmary

                    responsibilities was to advise the President of The United States as to bounds of his

                    lawful authority as head of the executive branch of the federal government.

                           9.     At one point White House General Counsel Pat Cipollone advised that

                    Trump "does not have the authority to do this!" See also id.

                           10.    Attorney Sidney Powell responded "Oh course he does!" citing Executive

                    Order 13848. See also id.

                           11.     White House General Counsel Pat Cipollone grew frustrated with the

                    topic of conversation and made it clear that he did not want any involvement with

                    the proposed courses of action, eventually stating, "Hey if you want to do this you

                    don't need my permission. You don't even need a pen or a piece of paper. You can just

                    say, 'I hire Sidney Powell as White House Special Counsel,' and it's done." See also

                    Byrne, supra, at 117; Marbury v. Madison, l Cranch 137, 138, 157, (1803) (stating

                    that the point in time in which the constitutional power of appointment has been

                    exercised is when the last act required from the person performing the power has

                    been performed).




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                           12.    After approximately 30 minutes more discussion, President Trump

                    stated to White House General Counsel Pat Cipollone "You know Pat? A few minutes

                    ago you said that I can make it happen just by saying it. Well .... OK. I have decided,

                    now I'm saying it. 'Sidney Powell is hereby appointed as White House Special

                    Counsel."' See also Byrne, supra, at 119 (emphasis in original).

                           13.    Another White House lawyer interjected stating that Sidney Powell

                    needs a clearance and "it'll take months to get her a clearance." See also id at 120.

                           14.     General Michael Flynn responded to this objection by stating ''Mr.

                    President, you can do the same thing with a clearance. You can grant any clearance

                    you want, on the spot, verbally." See also Byrne, supra, at 120; Marbury v. Madison,

                    1 Cranch 137, 138, 157, (1803) (stating that the point in time in which the

                    constitutional power of appointment has been exercised is when the last act required

                    from the person performing the power has been performed).

                           15.     Immediately thereafter President Donald J . Trump stated to his White

                    House lawyers, "I grant Sidney Powell a Top Secret security clearance." Byrne, supra,

                    at 120. Whereupon the White House counsels were angry, but did not dispute

                    Trump's actions, but instead left the room angrily.

                           16.     I have read Marbury v. Madison, 5 U.S. 137 (1803), which states that "A

                    commission is not necessary to the appointment of an officer by the executive .. .. A

                    commission is only evidence of an appointment." (emphasis in original).

                           17.     I witnessed White House lawyers advise the President of his power to

                    verbally appoint government officials.




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                           18.    I witnessed a former National Security Advisor advise the President of

                    his power to verbally grant any level security clearance to a person on the spot.

                           19.     On December 18, 2020, I witnessed Marbury v. Madison in action.

                           20.     On December 18, 2020, I witnessed White House General Counsel

                    advise the President that he could make a verbal appointment.

                           21.    On December 18, 2020, I witnessed President Donald J. Trump verbally

                    appoint Attorney Sidney Powell to the position of White House Special Counsel.

                           22.     On December 18, 2020, Attorney Sidney Powell held the position of

                    White House Special Counsel.

                           23.    On December 18, 2020, I witnessed General Michael Flynn, who was the

                    24th United States National Security Advisor, advise the President that he could

                    verbally grant, on the spot, any security clearance level.

                           24.     On December 18, 2020, I witnessed President Donald J . Trump verbally

                    grant White House Special Counsel Sidney Powell a Top Secret security clearance.

                           25.     On December 18, 2020, White House Special Counsel Sidney Powell held

                    a Top Secret security clearance.

                           26.     In January 2022, I had the opportunity of a social visit with the

                    Honorable Rudy Giuliani. Over the course of lunch, I asked him what happened such

                    that our conversation in the White House had not been implemented. Mr. Giuliani

                    told me that after our party had left the White House at approximately 12:15 AM

                    December 19, 2020, he spoke to the President for an additional 2-3 minutes




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                      whereupon the President verbally reversed his decision and instruction s. a nd that is

                      why tho, e earlier decisions were never implemented .

                             27.    Over the a me lunch, Mayor Giuliani mentioned that he kn ew in my

                      book I noted how th e pa rty of General Flynn, Ms. Powell, M . Newma n, a nd myself

                      had dawdled briefly on the sidewalk in front of t he White House and then saw Ma rk

                      Meadows and Rudy Giuliani leave by a nearby exit: Ma rk Meadows a nd Rudy

                      Giulia ni "le ft together and wa lked away to t he we t. The four of us s trode east. elated:

                      with Sidney e nsconced a s Whi te House Specia l Counsel, and Mike providing

                      organizational kills a nd his vast expert ise of DC, we were in good sta nding: at th a t

                      mome nt we fe lt the cha nce of s ucces hi gh ." Byrn e, supra , at 122. Mr. Giulia ni

                      indicated that the president h ad already reversed his decision by t he time t hat I saw

                      Giulia ni a t that point (which confirms tha t t he reversal fo rm a lly ha ppened. a nd

                      happe ned within ju.ta fe w minutes of om· depa r ture from t he President's cha mbers,

                      which is why t hose earlier decision were not implemented).

                              FURTHER DECLARANT SAYETH NAUG HT.




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